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                                 UNITED STATES DISTRICT COURT

                                WESTERN DISTRICT OF WISCONSIN



Travis Wolf                                           Case No.: 3:21-cv-00229-SLC

                Plaintiff,
                                                      PLAINTIFF’S NOTICE OF VOLUNTARY
         vs.                                          DISMISSAL OF DEFENDANT ONEMAIN
                                                      FINANCIAL GROUP, LLC PURSUANT
OneMain Financial Group, LLC, et. al.                 TO FEDERAL RULE OF CIVIL
                                                      PROCEDURE 41(A)(1)
                Defendant.




PLEASE TAKE NOTICE that Plaintiff Travis Wolf, pursuant to Federal Rule of Civil Procedure

41(a)(1), hereby voluntarily dismisses OneMain Financial Group, LLC as to all claims in this

action, with prejudice.

         Federal Rule of Civil Procedure 41(a)(1) provides, in relevant part:

         41(a) Voluntary Dismissal

         (1) By the Plaintiff

                (a) Without a Court Order. Subject to Rules 23(3), 23.1(c), 23.2, and 66 and any

                    applicable federal statute, the plaintiff may dismiss an action without a court

                    order by filing:

                          (1) a notice of dismissal before the opposing party serves either an answer

                             or a motion for summary judgment.

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                   PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT
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       Defendant OneMain Financial Group, LLC has neither answered Plaintiff’s Complaint, nor

filed a motion for summary judgment. Accordingly, the matter may be dismissed against it for all

purposes and without an Order of the Court.



Dated: May 17, 2021                 Gale, Angelo, Johnson, & Pruett, P.C.

                                         By:          /s/ Elliot Gale
                                                      Elliot Gale
                                         Elliot Gale (Bar #1119904)
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                 PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT
